
— In an action to recover damages for personal injuries, etc., the plaintiffs appeal, as limited by their brief, from so much of an order of the Supreme Court, Suffolk County (Mayer, J.), dated February 1, 2012, as granted that branch of the motion of the defendants Maxwell Fenton and Paradigm Transportation Corp. which was for summary judgment dismissing the complaint insofar as asserted against them.
Ordered that the order is affirmed insofar as appealed from, with costs.
The defendants Maxwell Fenton and Paradigm Transportation Corp. established their prima facie entitlement to judgment as a matter of law by submitting proof that the defendant Reyes Cristobal’s violation of Vehicle and Traffic Law § 1143, by failing to yield the right-of-way, was the sole proximate cause of the subject collision (see Recinos v Priamo, 94 AD3d 848 [2012]; Strocchia v City of New York, 70 AD3d 926, 927 [2010]; Ferrara v Castro, 283 AD2d 392 [2001]). In opposition thereto, the plaintiffs failed to raise a triable issue of fact (see Alvarez v Prospect Hosp., 68 NY2d 320, 324 [1986]).
The plaintiffs’ remaining contention is without merit.
Accordingly, the Supreme Court properly granted that branch of the motion of the defendants Maxwell Fenton and Paradigm Transportation Corp. which was for summary judgment dismissing the complaint insofar as asserted against them. Rivera, J.E, Lott, Roman and Cohen, JJ., concur.
